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                        UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MASSACHUSETTS


 STATE OF NEW JERSEY, et al.

                              Plaintiffs,
                                                           No. 1:25-cv-10139-LTS
        v.

 DONALD J. TRUMP, et al.

                              Defendants.


                            NOTICE OF PAYMENT OF FEES

       Please take notice that with this filing I have caused to be paid $125 by credit card in

connection with the Motion for Leave to Appear Pro Hac Vice of Shannon Stevenson, Dkt. No.

10.


January 21, 2025                               Respectfully submitted.

                                               ANDREA JOY CAMPBELL
                                                ATTORNEY GENERAL OF MASSACHUSETTS

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